    Case 4:22-cv-03173 Document 9 Filed on 10/31/22 in TXSD Page 1 of 1



UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OFUnited
                                                                       TEXAS States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
Joel Reyes Martinez;,                       §                                    October 31, 2022
                                            §                                   Nathan Ochsner, Clerk
                        Plaintiff,          §
                                            §
versus                                      §                  Civil Action H-22-3173
                                            §
Banc of America Funding Corp.               §
2006'7, U.S. Bank National Ass'n,           §
as Trustee,                                 §
                                            §
                        Defendant.          §


                                     Final Dismissal

           Having been advised that the parties stipulate to dismissal, this case is
    dismissed with prejudice. (8)



           Signed on October ...3..[_, 2022, at Houston, Texas .




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                                                       Lynn N. Hughes
                                                 United States DistrictJudge
